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 1                                                                         The Honorable John H. Chun

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 6                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 7                                       AT SEATTLE
 8 FEDERAL TRADE COMMISSION,                                No. 2:23-cv-0932-JHC
 9                             Plaintiff,                   STIPULATION AND [PROPOSED]
                                                            ORDER TO AMEND SCHEDULING
10          v.                                              ORDER
11 AMAZON.COM, INC., et al.,                                NOTE ON MOTION CALENDAR:
                                                            November 5, 2024
12                             Defendants.
13

14                                           STIPULATED MOTION

15          The parties, by and through their attorneys of record, respectfully request that the Court

16 enter the proposed Order set forth below, amending the case schedule.

17          In support of this request, the parties represent the following to the Court:

18          1.     On June 27, 2024, the Court entered a minute order setting the trial date and

19 related dates on June 14, 2024. Dkt. 175.

20          2.     Since that time, the parties have actively and diligently engaged in extensive

21 discovery. These discovery efforts have taken longer than the parties originally anticipated.

22          3.     To allow sufficient time for expert analysis and related discovery, the parties

23 agree that adjustments to the case schedule are warranted as set forth below.

24          4.     To accommodate these adjustments, the parties also agree that an extension of the

25 trial date by approximately two months to a date convenient for the Court, and a corresponding

26 adjustment to the related pre-trial deadlines, are warranted.

27
     STIPULATED MOTION AND
     [PROPOSED] ORDER TO AMEND SCHEDULING ORDER
     (2:23-cv-0932-JHC) - 1                                                     Davis Wright Tremaine LLP
                                                                                         L AW O FFICE S
                                                                                   920 Fifth Avenue, Suite 3300
                                                                                     Seattle, WA 98104-1610
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 1           5.   Accordingly, the parties stipulate and jointly request that the Court enter an Order

 2 amending the case schedule as follows:

 3
     Event                               Existing Deadline         Joint
 4                                       (Dkt. 175)                Proposed Deadline
 5   Deadline for Amended Pleadings      November 12, 2024         November 12, 2024
     Motions Relating to Fact            December 11, 2024         December 11, 2024
 6   Discovery
     Fact Discovery Deadline             January 10, 2025          January 10, 2025
 7
     Opening Expert Reports (all         November 12, 2024         January 24, 2025
 8   parties)
     Rebuttal Expert Reports (all        December 12, 2024         March 7, 2025
 9   parties)                            (calculated under
                                         FRCP 26)
10   Motions Relating to Expert          December 11, 2024         March 7, 2025
11   Discovery
     Expert Discovery Deadline           January 10, 2025          April 4, 2025
12   Dispositive and Daubert Motions     February 10, 2025         May 2, 2025
     Responses to Dispositive            March 3, 2025             May 23, 2025
13   and Daubert Motions                 (calculated under LCR
14                                       7)
     Replies In Support of Dispositive   March 10, 2025            June 6, 2025
15   and Daubert Motions                 (calculated under LCR
                                         7)
16   Settlement Conference               April 10, 2025            June 13, 2025
17   Plaintiff’s Pretrial Statement &                              June 30, 2025
     Deposition Designations Served
18   But Not Filed (per LCR 16(h) and
     LCR 32(e))
19   Motions in Limine                   April 28, 2025            July 8, 2025
20   Defendants’ Pretrial Statement &                              July 9, 2025
     Deposition Designations Served
21   But Not Filed (per LCR 16(i) and
     LCR 32(e))
22   Agreed Pretrial Order               May 19, 2025              July 29, 2025
     All Parties’ Deposition             May 21, 2025              July 31, 2025
23
     Designations filed with Court
24   Pretrial Conference (1:30 pm)       May 27, 2025              August 5, 2025
     Trial Briefs, Proposed Voir Dire,   June 2, 2025              August 11, 2025
25   Jury Instructions
     Trial Date                          June 9, 2025              August 18, 2025
26

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 1         6.      Based on the foregoing, the parties respectfully request that the Court grant their

 2 motion through entry of the Proposed Order below.

 3

 4 Stipulated to and respectfully submitted this 5th day of November, 2024, by:

 5
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12                                          Approved and agreed to by:
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                                              ORDER
 1
           IT IS SO ORDERED.
 2
           DATED this _____ day of ________________, 2024.
 3

 4
                                              JOHN H. CHUN
 5                                            UNITED STATES DISTRICT JUDGE
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